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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Ameristar Casino East Chicago LLC, et al.
                                                Plaintiff,
v.                                                            Case No.: 1:16−cv−05379
                                                              Honorable Manish S. Shah
UNITE HERE Local 1
                                                Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, September 25, 2018:


        MINUTE entry before the Honorable Manish S. Shah: Status hearing held. The
parties have leave to pursue damages discovery as discussed in open court. By 11/9/18,
the parties shall file a status report with a proposed discovery schedule, including any
expert discovery. Continued status hearing is set for 11/13/18 at 9:30 a.m. Notices mailed.
(psm, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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